Case 1:21-cr-00200-TFM-MU Document 26 Filed 05/31/22 Page 1 of 2        PageID #: 77



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ALABAMA
                            SOUTHERN DIVISION


UNITED STATES OF AMERICA                 :
                                         :
vs.                                      : CRIMINAL NO. 21-00200-TFM
                                         :
SHARON COLLINS,                          :
                                         :
       Defendant.                        :

                                        ORDER

       This action is before the Court on Defendant Sharon Collins’

unopposed Motion to Continue (Doc 25).                  Upon consideration of

Defendant’s unopposed motion, and the reasons set forth therein,

the undersigned concludes that the ends of justice served by

continuing this action for one term outweigh the best interests of

the    public   and    Defendant   in    a   speedy   trial.      18   U.S.C.A.   §

3161(h)(7)(A). Affording defense counsel additional time to ready

this case for trial or other resolution is reasonable under the

circumstances.        18   U.S.C.A.     §3161(h)(7)(A).        Accordingly,     the

request for a continuance is granted. This case is hereby CONTINUED

to the August 2022 criminal term.            For purposes of the Speedy Trial

Act,    any   delay    resulting   from      this   continuance   is   excludable

pursuant to 18 U.S.C. § 3161(h)(7)(A).

       Counsel for Defendant Collins shall file on or before June 10,

2022, a Speedy Trial Waiver executed by Defendant and his/her

counsel.      The waiver shall include language which reflects that (A)
Case 1:21-cr-00200-TFM-MU Document 26 Filed 05/31/22 Page 2 of 2   PageID #: 78



counsel has discussed the reasons for seeking a continuance with

Defendant; (B) Defendant understands that the time requested in the

motion to continue trial of this matter will be excluded from any

calculations of time under the Speedy Trial Act; and (3) with this

understanding and knowledge, Defendant agrees to a continuance of

this action to the August 2022 trial term.

      The clerk is directed to refer this action to Magistrate Judge

Murray.

            DONE this 31st day of May, 2022.

                                     /s/ SONJA F. BIVINS
                              UNITED STATES MAGISTRATE JUDGE




                                      2
